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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RICHARD EVANS,
INDIV/DUALL Y AND AS ADMINISTRATOR OF                    CIVIL ACTION
THE ESTATE OF MELISSA EVANS, DECEASED

v.                                                       NO. 2:16-cv-00109
PERPETUAL POOCH, LLC tla
WHITE DOG CAFE
and
LUCKY DOG ENTERTPRISES LLC t/a
WHITE DOG CAFE




                                            Order

This     1..~ -r'-- day of ~ """--        the foregoing stipulation is hereby approved by the

Court and Perpetual Pooch, LLC is hereby dismissed from the above action with prejudice.



                                                       BY THE COURT:

                                                       Isl Legrome D. Dav1s


                                                         Legrome D. Davis, J.
